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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                              Western Division

JUNHE QIU                                    : Case No:_____________________
211 Bosley Street #3                         :
Cincinnati OH 45220                          :
                                             :
        Plaintiff                            : Judge:
                                             :
v.                                           : Magistrate Judge:
                                             :
UNIVERSITY OF CINCINNATI                     :
2600 Clifton Avenue                          :
Cincinnati, Ohio 45221                       :
                                             :
and                                          :
                                             :
DR. NEVILLE G. PINTO                         :
in his official capacity as president of     :
the University of Cincinnati                 :
2600 Clifton Avenue                          :
Cincinnati, Ohio 45221                       :
                                             :
and                                          :
                                             :
DR. C. CATHERINE LOSADA                      :
Individually and in her official capacity as :
associate professor of music of the          :
University of Cincinnati                     :
2600 Clifton Avenue                          :
Cincinnati, Ohio 45221                       :
                                             :
                 Defendants                  :
                             _____________________________



          COMPLAINT WITH JURY DEMAND ENDORSED HEREON

       Plaintiff Junhe Qiu (hereinafter "Mr. Qiu" or Plaintiff), by and through counsel,

for his Complaint states that Defendants have denied him equal access to the music

courses, programs and activities of the University of Cincinnati (hereinafter "UC") in




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violation of federal law. Plaintiff also alleges that Defendants violated R.C. §41102 for

practicing unlawful discrimination and causing the Plaintiff intentional infliction of

emotional distress. Further Mr. Qiu alleges as follows:

                                        PARTIES

1.     Plaintiff is an undergraduate student in the Department of Music (hereinafter

"DOM") and is matriculated in the bachelors degree program of the DOM.

2.     Plaintiff has and presently suffers from certain substantial medical disabilities that

intermittently affects his ability to study and perform daily life activities. Mr. Qiu is a

person with a physical or mental impairment that substantially limits one or more major

life activities, a person who has a history or record of such an impairment, or a person

who is perceived by others as having such an impairment. Specifically, Plaintiff has (1)

been diagnosed by the UC Medical Center on or about 11/28/2016 as having sinus

tachycardia which causes intermittent syncope and collapse especially under placed under

unusual stress, (2) chronic musculoskeletal inflammation and pain of the left shoulder

since his high school student days in China, and (3) been diagnosed as suffering from

depression by the UC Medical Center. At all times relevant said disabilities are known

to Defendants. Notwithstanding aforesaid disabilities, Plaintiff through personal struggle

and perseverance is an outstanding music student at UC and has attended international

classes and performed the violin before international audiences.

3.     Plaintiff is an international student originating from China and he is studying

music at UC under an Form I-20 (Certificate of Eligibility for Nonimmigrant Student

Status issued by UC).      Plaintiff has a current F-1 visa issued by the United States

Department of State which is valid only if Mr. Qiu remains in "duration of status" by




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being enrolled in classes at UC in compliance with his I-20. Presently, Plaintiff has been

lawfully admitted into the jurisdiction of the United States of America under said F-1 visa

and he is residing in Hamilton County, Ohio. Plaintiff also has a music scholarship form

Defendant UC.

4.     Defendant UC is a public research university in Cincinnati, in the United States

and state of Ohio, and is a part of the University System of Ohio. UC exists pursuant to

R.C. §3361, et seq. UC receives federal funding. Therefore, it is a government entity

under Title II of the Americans with Disability Act, 42 U.S.C. §12131, et. seq.

5.     UC receives federal financial assistance in many forms, including, but not limited

to, direct grants of assistance as well as student financial aid, and is therefore required to

comply with Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §794. As a

condition of receiving federal funds from the Department of Education, Miami annually

signs a Certificate of Compliance certifying that it is in compliance with Section 504 of

the Rehabilitation Act.

6.     Defendant, Dr. Neville G. Pinto, in his official capacity is the president of UC.

7.     Defendant, Dr. C. Catherine Losada, individually and in her official capacity is at

all times, an associate professor at College-Conservatory of Music (“CCM”) of UC.

                               JURISDICTION & VENUE

8.     This Honorable Court has jurisdiction over the dispute between the parties

pursuant to 28 U.S.C. §1331 because the civil causes of action herein arise under the

Constitution and laws of the United States.

9.     This Court has jurisdiction pursuant to the Americans with Disability Act

(“ADA”), 42 U.S.C. §12131, et. seq.




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10.     This Court has jurisdiction pursuant to the Rehabilitation Act of 1973, 29 U.S.C.

§794.

11.     This Court has jurisdiction over the race, color, and national origin discrimination

claims and for harassment, and for retaliation pursuant to 42 U.S.C. §2000(e) et seq. and

42 U.S.C. §1981 et seq., and also ancillary jurisdiction over same discrimination claims

because of the ADA claims.

12.     This Court also has ancillary jurisdiction of the supplemental state claims

actionable under R.C. §4112.02 and pursuant to 28 U.S.C. §1367.

13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because this Court

is in the district where all of the Defendants reside and is also the district where the

substantial part of the events or omissions in connection with Plaintiff’s claims arose.

                           INTRODUCTION OF PLAINTIFF

14.     Plaintiff began playing the violin at age five (5).

15.     Prior to being offered a music scholarship and coming to CCM UC, Plaintiff

attended the Guangzhou Secondary School affiliated to the Xinhai Conservatory of

Music Guangzhou. As a high school student, he performed publicly in numerous

occasions in China. Before matriculating in CCM UC, Plaintiff had completed six (6)

years in music theory and musicianship.

16.     On or about November 2014, Plaintiff had heart surgery in China after he

collapsed while at a music festival in Europe. The surgery was not completely successful

and the heart problem continued to bother Mr. Qiu after he came to the USA to study at

CCM UC.




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17.     Mr. Qiu has performed at University of Iowa in the academic exchange program.

After the first year, Mr. Qiu performed at the Bowdoin International Music Festival with

full scholarship from the Festival 2017. He further performed at the 58th Weimar Master

Class 2017 in Germany and at Ameropa Chamber Music Festival in Prague, Czech

Republic at their 25th Anniversary Academic Exchange & Collaborations. On January

17, 2017, Plaintiff was invited by Prof. Cara Pickett for the Fullbright UK Summer

Program, but he could not attend because of a schedule conflict. On August 22, 2018,

Mr. Qiu completed a summer class in Academie Internationale de Musique with

Professor Guillaume Sutre.

                                        FACTS

18.     Plaintiff has attended CCM at UC as an undergraduate student ever since August

2016.

19.     At the end of his freshman year, Mr. Qiu completed and earned a GPA of 3.8.

20.     Mr. Qiu’s major is violin performance and he is a hardworking and conscientious

student.

21.     By merit, Mr. Qiu became a member of the CCM Concert Orchestra and he

performed publicly for CCM many times up to an exhausting eight (8) shows per

semester. He commands an excellent understanding of his field and is passionate about

performing violin.

22.     Plaintiff believed in improving his music through hard work and incessant

practice. He understands that there is no short-cut to mastering music and does not

believe in cheating to mastering his music.




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23.    On October 16, 2016, Plaintiff was seen by Alexandru Costea, M.D. at UC Health

Arrhythmia Center for a cardiac symptom. Thereafter, Plaintiff collapsed on November

12, 2016 while practicing in the CCM orchestra rehearsal room. Mr. Qiu was transported

by ambulance to the UC Emergency Room. Mr. Qiu was diagnosed with syncope and

collapse from a heart defect. Two days later, Plaintiff underwent surgery by Imran Arif,

M. D. where an implant was surgically placed in his chest. Defendants were fully aware

of this heart problem because he had passed out during rehearsal in front of the student

orchestra.

24.    Plaintiff enrolled in Music Theory 2 in spring of 2017 with Defendant Losada.

During this semester, Plaintiff also took Musicianship which is related to Music Theory

and got an A for Musicianship. Mr. Qiu got the highest grade in his section of

Musicianship (there were three (3) sections). Plaintiff had previously taken and

completed Music Theory I with Professor David Berry and received a good grade during

his freshman fall semester.

25.    On March 10, 2017, Defendant Losada accused Plaintiff of academic dishonesty,

specifically of completing one homework assignment using her instructor's manual.

Defendant Losada accused Plaintiff of submitting answer that was similar to the material

in her instructor manual. Defendant Losada accused Plaintiff of cheating by the

unauthorized use of her instructor's manual. Students are not permitted access to the

instructor manual. Plaintiff never had the instructor manual and Defendant Losada knew

the accusation to be false. Nevertheless, out of respect for his professor, Mr. Qiu sat

down and talked with her. Defendant Losada told Mr. Qiu that there will be no more

trouble if he signed a confession to the accusation.    From talking with other Asian




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students who had taken the class before, Plaintiff was afraid of the power and

vindictiveness of Defendant Losada. As a student from China, Plaintiff thought it best to

listen to her, follow her advice, and avoid more trouble and so he signed the confession.

When they were discussing the accusation, Defendant Losada did not tell Plaintiff that he

could disagree with the accusation and that he had the right to challenge the accusation

and have a hearing on the accusation.

26.       In March 28, 2017, Defendant Losada accused the Plaintiff again specifically of

completing another homework assignment using her instructor's manual.            Defendant

Losada again told Plaintiff that his answer was similar to the material in her instructor

manual. As previously mentioned, students had no authority and ability to access the

instructor manual. Mr. Qiu never had the instructor manual. As a result, Mr. Qiu, made

some inquiries and requested a college hearing panel. At the hearing Plaintiff told the

panel that he did not do the homework using her instructor manual. He further told the

panel that students have no authority to access the instructor manual and in fact he never

had the instructor manual. The homework involved a music composition within certain

constraints. The constraint ensured a fairly limited range of composition and to answer

question correctly, there is only a few possibilities of solution. It was like answering the

question 2+2=? Defendant Losada came to the hearing and told the panel she is sure Mr.

Qiu cheated because the answer was much too similar to the one in her instructor manual.

The panel ruled that Plaintiff had cheated. Defendant Losada failed Plaintiff from the

course.

27.       Notwithstanding medical issues with his heart, and the adverse encounter with

Defendant Losada, Mr. Qiu persevered and worked harder in 2017. The combined stress




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and physical exertions aggravated a chronic physical problem in his left shoulder and left

arm which Plaintiff had since high school in China. The intensity of international

performance made the pain much worse such that in August 2017, Plaintiff suffered more

injuries while over-practicing for his violin performance in Germany. For a time Mr. Qiu

was unable the play the violin, but he was able to travel to the Czech Republic and he

attended academic music sessions there. After that Plaintiff was forced to go back home

to China for medical treatment where he received medical care including acupuncture.

Because of the shoulder-arm injury, Mr. Qiu missed the fall semester of 2017 at CCM

UC.

28.    Upon treatment and recovery, Plaintiff returned to CCM UC for the spring

semester 2018.

29.    At that time, Defendants including Defendant Losada were fully aware of all the

medical disability Plaintiff had been experiencing.      Plaintiff had explained to the

Defendants why he missed the fall semester of 2017.     Defendants were also aware wje

collapsed during orchestra practice and had to be transported by ambulance to the UC

Emergency Room.       Defendants were also aware of his medical disability when he

missed classes during the semester.

30.    Since Defendant Losada failed Mr. Qiu in Music Theory 2, which is a required

course, he had to retake the course in spring after he came back from medical treatment

of his left shoulder and arm. During the spring semester of 2018, Plaintiff's trouble

resumed because Defendant Losada again was teaching Music Theory 2. For the third

time on March 9, 2018, Prof. Losada again accused Plaintiff specifically of completing

another homework assignment using her instructor's manual.      She again suggested that




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Plaintiff's answers were similar to the material in her instructor manual.       Plaintiff

requested a hearing which was set April 20, 2018.

31.    On March 7, 2018, Plaintiff had passed out again during violin rehearsal at CCM

and the ambulance took him again to UC Emergency Room. Mr. Qiu was seen by

Opeulu M. Adeoyu MD who diagnosed syncope and collapse and sinus tachycardia. All

these are related to Mr. Qiu's chronic heart condition. This time, UC doctors did not

order more surgery. Plaintiff was advised to avoid stress and over-exertion because it can

happen again.

32.    Because Defendant Losada kept alleging and pressuring that Mr. Qiu cheated, he

started to experience more violent chest pain. Mr. Qiu missed his hearing on April 20

because of his illness- chest pain and syncope. That day, Mr. Qiu could not get out of bed

and was forced to remain in his bed and most probably drifted in and out of

consciousness. He did not have the strength to inform the Dean or anyone else that he

was very sick. While in bed, Plaintiff was unsure of what happened and all he knew

afterwards was that he had missed the hearing.

33.    After Plaintiff recovered from the chest pain, and found out that he had been

dismissed from CCM UC. Mr. Qiu called and spoke with Dean Scott D. Lipscomb and

told the Dean that he had been physically disabled on the date of the hearing and

requested a new date so he can attend the hearing. Dean Lipscomb promised Plaintiff

that he will look into his case, and review his request for accommodation by reason of

medical disability. When Dean Lipscomb failed to get back to Plaintiff and never got a

new hearing, Plaintiff then contacted another CCM administrator, Dean Stephanie

Schlagel again to request accommodation of his medical disability in the form of a new




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hearing so he can be personally present. Dean Schlagel and Plaintiff met in her office.

After checking with some other people, Dean Schlagel did later reply to Plaintiff and

informed him that it was too late to do anything because he had been dismissed from

CCM.

34.     Plaintiff is a victim of retaliation by Defendant Losada because he had refused to

submit to her advice to confess to cheating and instead determined to challenge her

accusation before a hearing panel. In the first place, the charges of academic dishonesty

are but a pretext for hostility against Plaintiff's national origin, and color.

35.     Defendant Losada has a pattern and practice of discriminating against music

students of Asian origin by accusing them of academic dishonesty. Other victims of her

relentless pattern discrimination include You Yang and Yi-chen Hu.                There are other

students of Asian origin yet to be named who were discriminated by Defendant Losada.

36.     Defendants are fully aware of the medical situation including the heart condition

because Plaintiff had passed out more than once during orchestra rehearsal and had to

transported from CCM to UC Emergency Room. Defendants are also fully aware of his

should-arm injury because he had to take a semester for treatment and recovery in China.

Plaintiff had informed Defendants of his medical disability when he had to miss classes

during the semesters and also when he missed the fall semester of 2017 because of the

shoulder-arm injury.

37.     During 2017 when Plaintiff was studying at UC, he was being seen by UC Health

Services and prescribed Ablify for Depression.




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38.    On 7/2/2018, after he had been dismissed by Defendants, Plaintiff was seen by

UC Health Services by Nora Paulford, CNP. She diagnosed that he was suffering from

depression.

       FIRST CAUSE OF ACTION - VIOLATION OF AMERICANS WITH
                 DISABILITY ACT (ALL DEFENDANTS)

39.    Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

40.    Defendants having full knowledge of the history of and present medical disability

of Plaintiff violated the Americans with Disability Act, 42 U.S.C. §12131, et. seq. by

failing to provide reasonable accommodation of said disability including the provision of

a new hearing when Plaintiff was unable to attend the April 20, 2018 hearing because of

severe chest pain and syncope.

41.    The ADA, 42 U.S.C. § 12101 et seq., guarantees equal access for qualified

individuals to the benefits of the services, programs or activities of a public entity. 42

U.S.C. § 12132 et seq. 39.

42.    Title II of the ADA mandates, inter alia, that “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be

denied the benefits of the services, programs, or activities of a public entity, or be

subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

43.    Therefore, Defendant UC failed to “furnish appropriate auxiliary aids and services

where necessary to afford individuals with disabilities, including applicants, participants,

companions, and members of the public, an equal opportunity to participate in, and enjoy

the benefits of, a service, program, or activity of a public entity.” 28 C.F.R. §

35.160(b)(1).



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44.     Defendant UC is a public entity under Title II of the ADA. Music classes and

facilities at CCM UC are services, programs or activities provided by the Defendant UC.

45.     Plaintiff is an individual with a disability under the ADA. The Defendants were

on notice of Mr. Qiu’s medical condition because he had passed out multiple times

during rehearsal with the student orchestra.

46.     Plaintiff was matriculated based on all general requirements to be a student at UC,

had been awarded a music scholarship, and thus is a qualified individual entitled to the

protections of the ADA. Defendant UC has excluded Mr. Qiu from participation in,

denied him the benefits of, or otherwise discriminated against him in the academic

programs of CCM UC.

47.     As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, and suffered financial hardship, Further he

suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.

48.     As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

   SECOND CAUSE OF ACTION - VIOLATION OF REHABILITATION ACT
                      (ALL DEFENDANTS)

49.     Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

50.     Section 504 of the Rehabilitation Act mandates that “[n]o otherwise qualified

individual with a disability . . . shall, solely by reason of her or his disability, be excluded

from the participation in, be denied the benefits of, or be subjected to discrimination

under any program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).



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51.    Section 504 defines “program or activity,” in pertinent part, as “all of the

operations of a department, agency, special purpose district, or other instrumentality of a

State or of a local government; or the entity of such State or local government that

distributes such assistance and each such department or agency (and each other State or

local government entity)to which the assistance is extended, in the case of assistance to a

State or local government . . . .” 29 U.S.C. § 794(b)(1).

52.    By failing and dismissing Plaintiff from CCM UC, Defendants have violated his

rights under the Rehabilitation Act.

53.    As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, and suffered financial hardship. Further, he

suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.

54.    As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

       THIRD CAUSE OF ACTION - NATIONAL ORIGIN, RACE, COLOR
                DISCRIMINATION (ALL DEFENDANTS)


55.    Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

56.    Defendants’ conduct constitutes prohibited or unlawful disparate treatment on the

basis of national race, and color in violation of, inter alia, 42 U.S.C. §2000(e) et seq., 42

U.S.C. §1981, and under corresponding R.C. §4112.02.

57.    As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, and suffered financial hardship, Further, he




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suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.

58.     As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

        FOURTH CAUSE OF ACTION - HOSTILE ENVIRONMENT (ALL
                          DEFENDANTS)


59.     Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

60.     Defendants’ conduct was prohibited because it was based on Plaintiff’s medical

disability, national origin, race and color.

61.     Defendants’ actions unreasonably created a hostile, offensive, or intimidating

environment for Plaintiff while he was a student at CCM UC and the professors,

administrators including the CCM Deans were aware of Defendant Losada prohibited

conduct and failed to prevent the hostile, offensive, or intimidating environment.

62.     As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, suffered financial hardship. Further, he

suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.

63.     As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

       FIFTH CAUSE OF ACTION - RETALIATION (ALL DEFENDANTS)

64.     Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.




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65.    In response to Plaintiff’s exercise of his protected rights, including challenging

Defendant Losada accusations of homework cheating using the instructor's manual in

March 2017 and requesting a college panel hearing, Defendants retaliated against

Plaintiff by dismissing him from CCM even though he was sick in bed with chest pain

and was unable to attend the latest hearing.

66.    As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, and suffered financial hardship. Further, he

suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.

67.    As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

  SIXTHCAUSE OF ACTION - INTENTIONAL INFLICTION OF PHYSICAL
       PAIN AND EMOTIONAL DISTRESS (ALL DEFENDANTS)

68.    Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

69.    Defendants having knowledge of Plaintiff's medical condition with his heart and

should and arm, intended to cause, or knew or should have known that their actions

would result in serious physical pain and also emotional distress on Plaintiff.

70.    Defendants’ discriminatory and retaliatory conduct was so extreme and

outrageous that it went beyond all possible bounds of decency and propriety.

71.    As a proximate result of aforesaid violation, Plaintiff was wrongfully discharged

from CCM UC, lost his music scholarship, and suffered financial hardship, Further, he

suffered delay and impediment to completing his music education and future career as a

performing violinist which constitute irreparable harm.



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72.    As a proximate result of aforesaid violation, Plaintiff suffered emotional pain,

distress, and anxiety.

       SEVENTH CAUSE OF ACTION - DENIAL OF DUE PROCESS (ALL
                          DEFENDANTS)


73.    Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

74.    The acts of Defendant Losada represent official academic decisions of Defendant

UC and are attributable to Defendant UC.

75.    At all times relevant to this Complaint, Plaintiff had a clearly established right to

due process of law respecting his position of as matriculated undergraduate of CCM UC

and to his music scholarship at CCM UC.

76.    Pursuant to Title: Conduct, rights and responsibilities: Student code of conduct.

Division: 40: Students Number: 40-5-0, Plaintiff has a right to a full and fair hearing to

challenge Defendant Losada's accusation of academic cheating/dishonesty which includes

his right as the individual involved to be present at the college hearing panel (CHP).

Plaintiff did not choose not to be present for said hearing but instead was medically

disabled by severe chest pains and syncope and upon recovery from the medical attack,

had spoken to two CCM Deans about a new hearing based on medical disability. There

is no lawful reason to dismiss Plaintiff without first affording him a new hearing, but for

unlawful animus and intentional retaliation.

77.    Defendants’ actions constitute a deliberate denial, under color of law, of

plaintiff’s rights to Due Process as guaranteed by the Fourteenth Amendment to the U.S.

Constitution. Resulting damages constitute irreparable harm.




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                       DAMAGES OF IRREPARABLE HARM

78.    Plaintiff incorporates previous allegations as if fully rewritten herein and states

further as follows.

79.    Plaintiff was wrongfully discharged from CCM UC, has suffered and will

continue to suffer irreparable harm from the delay and impediment to completing his

music education and lost time towards his future career as a performing violinist.

80.    Plaintiff's irreparable harm is compounded by the fact that he is an international

student presently lawfully admitted under and F-1 visa and the unlawful conduct of

Defendants against Plaintiff in dismissing him wrongfully from CCM UC has placed

him in imminent danger of unlawful presence in the USA and further endangering his

future ability to continue an education in the USA by reason of imminent deportation

from the USA.

81.    Plaintiff received an email on 9/6/2018 from UC International Services captioned

URGENT--Not Enrolled at UC Fall Semester 2018 requesting Plaintiff come into

compliance with full time enrollment for classes for Fall Semester classes by 9/14/2018.

Failure to do so will result in reporting to U. S. Department of Homeland Security which

will render the I-20 out of duration of status and invalidate his F-1 Student Visa.

Thereafter, Plaintiff is subject to being placed in removal proceedings and if deported, he

will be unable to get a visa into the USA for a period of ten years. Being barred from the

USA will render this lawsuit moot as he will be unable to appear before this court

including for a jury trial. This is irreparable harm because such harm cannot be remedied

by an award of monetary damages.




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82.     The deportation and removal of Plaintiff will irreparably harm his ability to

lawfully reenter the USA.       Such harm cannot be remedied by an award of monetary

damages.

83.     The deportation and removal of Plaintiff will irreparably harm his ability to

prosecute this lawsuit. Such harm cannot be remedied by an award of monetary damages

if he is unable to testify before the jury.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully demands injunctive relief in the form of a

temporary restraining order, preliminary injunction and permanent injunction against

Defendants, jointly and severally.       Said injunctive relief includes an Order to enjoin

Defendants from barring Plaintiff from enrolling in fall semester classes, to enable

Plaintiff to register and attend classes at CCM UC under his original music scholarship,

so that his I-20 remains in duration of status and his F-1 is not invalidated and that he is

not placed in removal proceedings by U. S. Immigrations and Customs Enforcement.

        Additionally, Plaintiff demands judgment against Defendants, jointly and

severally, for compensatory damages in excess of One Hundred Thousand Dollars

($100,00.00), punitive damages, reasonable attorney fees, costs and all other relief at law

and in equity to which he may be entitled.

                                               Respectfully submitted,

                                               s//Charleston C. K. Wang/
                                               Charleston C. K. Wang OH 0033258
                                               Trial Attorney for Plaintiff
                                               6924 Plainfield Road
                                               Cincinnati OH 45236
                                               Tel: 513-793-7776
                                               Fax: 513-793-7779
                                               email: charlestonwang@wanglaw.net



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                               DEMAND FOR JURY TRIAL


Plaintiff respectfully demands a trial by jury on all issues.

                                               Respectfully submitted,

                                               s//Charleston C. K. Wang/
                                               Charleston C. K. Wang OH 0033258
                                               Trial Attorney for Plaintiff



                                  REQUEST FOR SERVICE

Praecipe to the Clerk of Court:

Please serve the Defendants by U S Mail at

c/o University of Cincinnati
2600 Clifton Avenue
Cincinnati, Ohio 45221

                                               Respectfully submitted,

                                               s//Charleston C. K. Wang/
                                               Charleston C. K. Wang OH 0033258
                                               Trial Attorney for Plaintiff




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